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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 MUTUAL OF OMAHA                       )
 MORTGAGE, INC.,                       ) Civil Action No. 22-CV-01660
                                       )
                    Plaintiff,         ) PLAINTIFF MUTUAL OF OMAHA
                                       ) MORTGAGE, INC.’S MOTION FOR
       v.                              ) SUMMARY JUDGMENT ON LOST
                                       ) PROFIT            DAMAGES    AND
 WATERSTONE MORTGAGE                   ) INCORPORATED MEMORANDUM OF
 CORPORATION,                          ) LAW
                                       )
                    Defendant.         )


       Plaintiff Mutual of Omaha Mortgage, Inc. (“Plaintiff” or “Mutual”) hereby

 moves pursuant to Fed. R. Civ. P. 56 for the entry of Summary Judgment on Lost

 Profit Damages. The grounds upon which this Motion are based are set forth below.

                                 INTRODUCTION

       This case is about Defendant, Waterstone Mortgage Corporation’s

 (“Defendant”) decimation of the entirety of Mutual’s business operations in the State

 of Florida. Waterstone conspired with three then-Mutual employees—Dwayne

 Hutto (“Hutto”), Christopher Smith (“Smith”), and Christopher Wolf (“Wolf”)

 (collectively, the “Former Employees”)—to use a combination of unlawful actions

 to steal the entirety of Mutual’s Florida operations (“Mutual Florida”). Neither the

 Former Employees nor their entire branches would have joined Waterstone but for

 its conscious encouragement and facilitation of the misappropriation of trade secrets,
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 tortious interference with Mutual’s former employees’ contracts with Mutual, and

 aiding and abetting these employees’ breach of fiduciary duty. These unlawful

 activities were a condition precedent to the hiring of the Departed Employees and

 the elimination of Mutual Florida. Yet, knowing this, Waterstone consciously

 decided to participate in and incentivize the unlawful activities, in order to hire the

 Departed Employees and assist them in absconding with Mutual Florida.

       This Court has ordered Mutual to move for summary judgment on damages,

 including Mutual’s claim for lost profit damages. Dkt. No. 94. Here, Mutual

 demonstrates that Waterstone’s conduct was a “substantial factor” in causing its lost

 profits for each of the claims within its First Amended Complaint (“FAC”) (Dkt. No.

 37) when it engaged in a calculated scheme to steal Mutual Florida’s operations.

 Because causation and liability are established as a matter of law for the reasons set

 forth herein, Mutual therefore need only adequately determine its amount of lost

 profit damages—absolute certainty is not required—which it does through its expert

 witness, Candice Rosevear, and documentation produced in this action. For these

 reasons, this Court should enter summary judgment in favor of Mutual.

             STATEMENT OF MATERIAL UNDISPUTED FACTS

    A. The Parties

       1.     Plaintiff, Mutual of Omaha Mortgage (“Mutual”) is a residential

 mortgage lender headquartered in San Diego, California, which operates branches

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 across the United States. Ex. A, Affidavit of Mark Carroll (“Carroll Aff.”) ¶ 3.

       2.     Mutual previously operated branches located in Tampa and Daytona,

 Florida, and Paramus, New Jersey (“Mutual Florida”). Id. ¶ 4.

       3.     For all of the active branches that have been with Mutual for over

 twelve (12) months, the average time period that those branches have been with

 Mutual is approximately 51 months. Id. ¶ 15. Further, approximately 80% of the

 branches that have started with Mutual have remained with Mutual, to date. Id.

       4.     Defendant, Waterstone Mortgage Corporation (“Defendant”), is a

 residential mortgage lender that has approximately 30 branches across the United

 States. Waterstone Answer, Dkt. No. 39 ¶ 5; Ex. B, Deposition of Elizabeth Spragg

 (“Spragg”) 40:2-3.

    B. Mutual’s Former Branch Managers

       5.    From November 2018 until April 2022, Dwayne Hutto served as the

 branch manager of Mutual’s Daytona Branch. Ex. A, Carroll Aff. ¶ 5.

       6.    From December 2018 until April 2022, Christopher Wolf served as the

 co-branch manager of Mutual’s Daytona Branch. Id. ¶ 6.

       7.    From December 2018 until June 2022, Christopher Smith served as the

 branch manager of Mutual’s Tampa and Paramus branches. Id. ¶ 7.

    C. Departed Employees’ Agreements with Mutual

       8.     During their employment, each of the Departed Employees maintained

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 a written employment agreement (“Employment Agreements”) with Mutual. See,

 e.g., Ex. C, MOM0009510.

       9.      The Employment Agreements contained several different provisions,

 including Mutual’s (i) loan originator duties; (ii) standards of conduct; (iii) policies;

 (iv) employees’ duty of loyalty and certain prohibitions; (v) clauses pertaining to the

 non-solicitation of employees and customers; and (vi) a prohibition against the

 sharing of Mutual’s confidential information. See, e.g., id. at §§ 5, 7, 8, 9, 13, 15.

    D. Waterstone’s Improper Recruitment Practices

       10.     When Waterstone recruits a branch manager from another company, it

 knows there is a chance that a manager will, in turn, attempt to solicit his own

 branch’s employees to Waterstone because there are obvious financial incentives for

 the branch manager to do so. Ex. D, Deposition of Waterstone 30(b)(6) Corporate

 Representative Kevin Allen (“Allen”) 70:11-18; 85:3-9; 85:16-22-86:1-5; 141:21-

 22-142:1-5.

       11.     But Waterstone knows that encouraging and allowing a branch

 manager to leave with the employees they are currently supervising for the benefit

 of another company in violation of their own contractual obligations is wrong. Ex.

 D, Allen 94:13-20; 129:6-12.

       12.     Indeed, Waterstone knows that soliciting a branch manager’s

 subordinate employees violates the duty of loyalty that a manager owes its employer

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 and would potentially violate contractual and other legal obligations the employees

 have with their employers. Ex. D, Allen 31:9-15; 33:1-5; 134:10-17, 135:2-14.

       13.   Waterstone knows that if a branch manager was not able to bring his

 branch with him, the branch manager would look at Waterstone “sideways” because

 the branch manager assumes Waterstone would know the branch would be coming

 with him. Ex. D, Allen 280:13-22-281:1-7. Further, if the branch does not follow

 the manager, the manager may not come with him. Id. 144:1-15.

       14.   So instead, when Waterstone recruits a branch manager, it allows the

 branch manager to talk to his own branch employees knowing that the manager will

 want to know whether the team will follow him before announcing his resignation.

 Ex. D, Allen 124:8-22; 125:1-5; 142:6-14; 144:1-7.

       15.   Waterstone avoids being involved in these conversations to remain

 blissfully ignorant about whether a branch manager is actively soliciting the branch

 employees to transition to Waterstone. Ex. D, Allen 75:3-15, 124:15-22-125:1-5.

       16.   Specifically, Waterstone knows that taking customer information,

 soliciting another company’s employees, and stealing trade secrets would violate

 those obligations. See, e.g., Ex. D, Allen 129:6-12; 155:8-14; 160:18-22-161:1-4;

 171:6-17; 238:19-22-239:1-11; 240:6-14; 276:19-22-277:1-4.

    E. Waterstone’s Recruitment Efforts of the Departed Employees

       17.   Waterstone began its recruitment efforts of the Departed Employees as

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 early as October 2021. Ex. E, WMC003673-003675.

       18.    On November 3, 2021, Wolf e-mailed Dustin Owen (“Owen”), who at

 the time was Waterstone’s Regional Vice President – Southeast, asking questions

 “from Chris [Smith] in Tampa and some others had [sic][.]” Ex. F, WMC006263-

 WMC006271. In there, Wolf asked “can we send loans over to start and build up a

 balance of money to fund transition.” Id. at WMC006267.

       19.    Waterstone understood this to mean that Wolf wanted to send over

 some people and loans to build up money at Waterstone to fund a potential transition

 while the Departed Employees worked as branch managers overseeing Mutual

 Florida, but also knew that it is unethical for the Former Employees to bring loans

 over to Waterstone from Mutual. Ex. D, Allen 103:7-14; 120:16-22.

       20.    Waterstone fully understood that what they were asking – in writing –

 was unlawful, and carefully responded as follows: “We need to make sure anything

 you all do during transition does not violate any current agreement you have with

 your current employer as it pertains to leads generated and loans in the pipeline . . .

 We will assemble a transition team to help get everyone on-boarded and ready to

 field pre-quals, loan loans and disclose files on Day 1.” Ex. F, WMC006267.

       21.    Despite claiming that it will never seek information from a previous

 employer (Ex. G, WMC005267), on February 17, 2022, Hutto sent an e-mail from

 his Mutual e-mail address to Owen at Waterstone, attaching a copy of Mutual’s

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 December 31, 2021 Profit and Loss (“P&L”) Statement for the Daytona Branch (Ex.

 H, MOM0000038). Owen confirmed receipt of this e-mail. Id.

       22.    Waterstone knew this was a piece of internal confidential financial

 information that should not be sent from another company because it was not

 publicly available and was valuable for evaluating the profitability of a branch and

 its employees and facilitating the calculation of potential offers. Ex. D, Allen 219:2-

 18; 223:13-22; 224:1-22; 225:1-8; Ex. I, Deposition of Dwayne Hutto (“Hutto”)

 88:20-22, 89:22-90:1-2.

       23.    Despite knowing that it should not have this information, Waterstone

 never asked the Departed Employees to stop sending this information. Ex. D, Allen

 229:13-22; 230:16-22, 230:1-2.

       24.    Rather, on March 3, 2022, Hutto e-mailed the Tampa P&L for

 December 2021 to his personal e-mail address. Ex. J, MOM0000027-28. Using his

 personal e-mail address, Hutto again forwarded the P&L to Owen. Id.

       25.    Owen responded to this e-mail stating, “Received. Thank you. I have

 sent this off to Kevin Allen (“Allen”), Waterstone’s Senior Vice President of Sales.

 Ex. K, MOM0000035; Ex. D, Allen 33:17.

       26.    On March 5, 2022, Owen wrote an e-mail to Wolf stating, “We then

 would want to start creating your database by transferring as much over as possible.”

 Ex. L, WMC008400; Ex. D, Allen 151:9-16.

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       27.    This “database” relates to Encompass, which is a loan origination

 system that contains customers’ sensitive information pertaining to interest rates on

 loans that a lender has closed, the type of loan product, as well as the contact and

 detailed personal financial information of its borrowers. Ex. D, Allen 42:12-20;

 169:18-22. Sensitive information includes customers’ personal information, Social

 Security numbers, credit scores, and bank account numbers. Id. at 42:21-22; 43:1-

 5; 48:21-22-49:1-8.

       28.    Waterstone knows this information is confidential proprietary

 information belonging to Mutual. Ex. D, Allen 160:18-22; 161:1-4.

       29.    Waterstone agreed that it is “problematic” if Owen intended to mean

 that Wolf should transfer over as much information from his current employer as

 possible. Ex. D, Allen 50:11-16; 152:2-9, 18-22; 153:1; 155:5-14; 171:6-17.

    F. Waterstone’s Improper Diversion of Mutual Loans and Customers

       30.    Although Waterstone previously recognized the impropriety of having

 Hutto and Wolf send over employees to begin siphoning loans off from Mutual,

 ultimately Owen invited Wolf to take such action. Ex. L, WMC008400.

       31.    On March 5, 2022, Wolf e-mailed Waterstone requesting a timeline for

 the move of the branch. Ex. L, WMC008400. Waterstone responded that same day

 stating that Waterstone “would want to plan out at least 2 to 3 weeks if possible.”

 Id. Additionally, Waterstone asked Wolf whether Wolf intended to send over a small

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 team a week to 10 days earlier to get onboarded and “dive in headfirst.” Id.

       32.    Shortly thereafter, Hutto and Wolf caused five Mutual employees to

 resign from Mutual and join Waterstone to facilitate the transition.           Ex. M,

 Deposition of Christopher Wolf (“Wolf”) 55:3-9.

    G. Onboarding of the Mutual Florida Branch Employees

       33.    In early April, Wolf openly solicited the entire team to leave Mutual

 and join Waterstone during a team meeting. Ex. D, Allen 213:16-20. Wolf later

 instructed the branch to “not discuss what we talked about on today’s call with

 anyone outside of your families.” Ex. N, MOM0000233.

       34.    On April 11, 2022, Elizabeth Spragg (“Spragg”), who served as the

 Chief People and Administrative Officer at Waterstone, requested and obtained from

 Wolf the “full roster,” which included Mutual Florida employees’ names, personal

 e-mail addresses, job, title, and compensation details so that she could prepare offer

 letters for them. Ex. O, WMC004569; Ex. B, Spragg 23:22; Ex. P, WMC000741-

 746; Ex. EE, WMC006899-006901.

       35.    Spragg then requested compensation details for each of the individuals

 identified on the roster, which Wolf provided. Ex. P at WMC000741.

       36.    In addition to obtaining personnel information that Waterstone knows

 is protected as confidential under Section 5.1 of its own Employment Agreement,

 Spragg worked with Wolf to facilitate the preparation of job offers to Mutual

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 employees because she knew he had access to their information as their supervisor.

 Ex. B, Spragg 28:6-20; 27:1-7; Ex. D, Allen 181:22-182:1-3, 185:2-10.

       37.    Spragg ensured that Mutual would not find out about the solicitations

 of employees, by purposefully directing the solicitations to the employees’ personal

 email addresses supplied by their manager Wolf, even though she did not have their

 consent. Ex. Q, WMC009045; Ex. B, Spragg 53:2-5; Ex. M, Wolf 44:16-20.

       38.    Waterstone was working with the Departed Employees to ensure that

 Mutual did not find out what was going on – i.e., that its branch managers were

 conspiring with its employees to leave. Ex. D, Allen 197:3-7.

    H. Waterstone’s Theft of Mutual’s Confidential Loan and Borrower
       Information

       39.    After Waterstone onboarded the “transition team” – five loan officers

 that Waterstone onboarded while the remainder of Mutual Florida continued their

 employment at Mutual, Wolf and Hutto began sending Mutual’s confidential loan

 and borrower information to Waterstone with the assistance of the individuals who

 joined to facilitate the transition. See, e.g., Ex. R, WMC002147, WMC002162,

 WMC006193.

       40.    This loan information has significant value as it is not publicly available

 but provides a lender with a significant advantage in closing a loan for a borrower.

 Indeed, merely knowing which borrowers are qualified and willing to proceed with

 a loan is valuable. Having the actual documentary information further assists in both
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 evaluation and ultimately obtaining the borrowers’ consent to close a loan because

 an obstacle or fallout point in closing a loan is obtaining the required documentation

 from a borrower. Ex. I, Hutto 95:22-25-100:16.

       41.    From February through the end of April 2022, on at least 20 occasions,

 Wolf emailed personal financial data including borrowers’ income, assets, tax

 returns, account balances, credit scores, social security numbers and other similar

 materials entrusted to Mutual, by emailing it first to his prior email and then to

 Waterstone. See Ex. S, Compilation of E-mails.

       42.    As an example, Wolf sent Waterstone a borrower’s file by the name of

 Hennessey. Ex. S at WMC001185. The e-mail states, “Dwayne asked me to send

 you this file.” Id. The file contained the borrower’s driver’s license, credit report,

 and contract for the potential borrower. Id.

       43.    As another example, on April 21, 2022, Wolf e-mailed Waterstone with

 the “Sherwood file,” requesting a credit score for this individual.         Ex. S at

 WMC002162. In the e-mail, Wolf attached a number of documents containing

 personal identifying information, including the borrower’s W-2, Driver’s License,

 and copies of bank statements. Id.

       44.    In addition, Waterstone’s own management participated in and

 encouraged this activity.      See, e.g., Ex. T, MOM0001284, WMC006389-

 WMC006391, WMC007335.

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         45.    Waterstone admits that Wolf’s request was problematic, but

 Waterstone did nothing to stop it and instead repeatedly received and used the

 information.     Ex. D, Allen 275:5-19; 277:1-2.       To the contrary, Waterstone

 continued to encourage, assist, and facilitate the theft of trade secrets as it would

 assist in financing the Branch transition. See, e.g., Ex. G, WMC005267; Ex. D,

 Allen 37:1-9; 38:3-22-39:1-2.

         46.    Altogether, Waterstone diverted approximately 46 loans from Mutual.

 Ex. A, Carroll Aff. ¶ 13.

       I. Mutual’s Resignations

         47.    On April 26, 2022, Hutto resigned from Mutual. Ex. U, MOM0009307.

 Wolf also resigned from Mutual on the same day (Ex. V, MOM0009306), as did all

 of the loan officers working at Mutual’s Tampa and Daytona Branches (Ex. I, Hutto

 230:16-20).

         48.    At all times during his discussion with Waterstone, Waterstone was

 aware that Hutto would be bringing his entire branch with him. Ex. I, Hutto 64:7-

 10.

         49.    In exchange for bringing his entire branch with him, Waterstone offered

 Hutto $250,000 as support for the first couple of months. Ex. I, Hutto 63:13-23.

         50.    This amount directly corresponded to the concerns Wolf to Waterstone

 where he requests funding for the branch during the initial transition to facilitate the

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 solicitation. Ex. F, WMC006267.

       51.    The day after Hutto’s resignation, on April 27, 2022, Waterstone and

 the Departed Employees continued its scheme of stealing Mutual’s customers by

 utilizing a third-party, who was unaffiliated with Mutual, named Ellie Briones to

 contact Mutual Florida’s customers and transition them into becoming Waterstone

 customers, using an e-mail address elliemutualmortgage@gmail.com to deceive

 these customers. Ex. W, MOM0014128; Ex. I, Hutto 109:21-24, 111:8-12.

    J. Mutual’s Cease and Desist Letter and Waterstone’s Ratification of
       Improper Conduct

       52.    On April 29, 2022, Mr. Mark Carroll with Mutual sent Cease and Desist

 Letters to Waterstone’s employees, copying Waterstone and its General Counsel,

 advising them of the violation of their contractual and legal obligations to Mutual

 and the necessity of avoiding further infractions. See, e.g., Ex. X, WMC001528; Ex.

 D, Allen 199:5-21; 201:1-8.

       53.    Despite this, on May 11, 2022, Melanie Pischke Ferrera, a former

 Mutual employee who joined Waterstone, sent an e-mail to Smith providing a

 “suggested Encompass export map for the ‘Completed Loans’ folder.” Ex. Y,

 MOM0015279.

       54.    In response, on June 13, 2022, John Utsch, who was still working as a

 loan officer at Mutual, responded, providing a “closed loan list” in the field mapping

 that Waterstone requested from Encompass. Ex. Z, MOM0015236; Ex. D, Allen
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 165:1-3.

       55.    Waterstone knew that this would include private information about

 customers who closed loans at Mutual and further admitted that it would be

 problematic for someone to have exported Mutual’s closed loan list out of

 Encompass. Ex. D, Allen 168:11-18, 171:6-17; 174:6-8, 20-21; 176:15-17.

       56.    Similarly, on June 9, 2022, Fred Stalls—another loan originator at

 Mutual—e-mailed Cody Lamb, also at Mutual, instructing him to send information

 pertaining to five sets of borrowers to Wolf at Waterstone. Ex. AA, MOM0000238-

 39. Wolf confirmed receipt of this information. Ex. AA at MOM0000238.

       57.    Thereafter, Smith and his branches, including Stalls and Lamb,

 resigned from Mutual on June 15, 2022. Ex. BB, Deposition of Christopher Smith

 (“Smith”) 41:11-13.

       58.    Similar to Hutto, Waterstone offered Smith an amount of $500,000 in

 his initial offer letter for the same reasons as Hutto, namely, to bring his branch to

 Waterstone. Ex. CC, WMC011460-11463.

    K. Ratification of the Departed Employees’ Conduct

       59.    Waterstone’s Employment Agreements provide a number of

 requirements requiring that employees comply with their contractual and legal

 obligations when joining Waterstone. Ex. D, Allen Tr. 27:9-22-28:1-3; Ex. DD,

 WMC001732 at ¶ 1.4.

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       60.    Yet, Waterstone literally took no action to ascertain the nature and

 extent of the obligations the Departed Employees owed Mutual. Ex. BB, Smith

 162:23-25; 163:1-8; Ex. I, Hutto 60:15-19; 68:16-18; Ex. M. Wolf 95:20-22.

       61.    Despite knowing that the Departed Employees violated these

 obligations, Waterstone has never disciplined, terminated or in any manner

 reprimanded them. Ex. D, Allen 53:6-13; 55:7-11; 55:15-18; 56:2-9.

       62.    This is true despite Waterstone admitting the Departed Employees

 engaged in behavior related to the solicitation of clients and transfer of information

 from Mutual in a manner “the wrong way.” Ex. D, Allen 276:19-22-277:1-2.

                     SUMMARY JUDGMENT STANDARD

       Under Federal Rule of Civil Procedure 56(a), “[t]he court shall grant summary

 judgment if the movant shows that there is no genuine dispute as to any material fact

 and the movant is entitled to judgment as a matter of law.” Summary judgment is

 appropriate where there are no genuine issues of material fact, and the moving party

 is entitled to judgment as a matter of law. Celotex Corp. v. Catrett, 477 U.S. 317,

 322-23 (1986). “A genuine issue of material fact does not exist unless there is

 sufficient evidence favoring the nonmoving party for a reasonable jury to return a

 verdict in its favor.” Haves v. City of Miami, 52 F.3d 918, 921 (11th Cir. 1995)

 (citations omitted); see also Young v. City of Palm Bay, Fla., 358 F.3d 859, 860 (11th

 Cir. 2004) (“A mere scintilla of evidence in support of the nonmoving party will not

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 suffice to overcome a motion for summary judgment.”).

                              MEMORANDUM OF LAW

   I.   MUTUAL IS ENTITLED TO SUMMARY JUDGMENT AS A
        MATTER OF LAW.

        Under Florida law, the primary determination of causation is necessarily a

 critical component in awarding lost profits—that is, a plaintiff can recover lost

 profits if “the defendant’s actions caused the damage” and “there is some standard

 by which the amount of damages may be determined.” Cedar Hills Props. Corp. v.

 Eastern Fed. Corp., 575 So. 2d 673, 677 (Fla. 1st DCA 1991) (citing W.W. Gay

 Mech. Contractor, Inc. v. Wharfside Two, Ltd., 545 So. 2d 1348, 1351 (Fla. 1989));

 see also Nebula Glass Intern., Inc v. Reichold, 454 F.3d 1203, 1214 (11th Cir. 2006);

 Whitby v. Infinity Radio Inc., 951 So. 2d 890, 898-99 (Fla. 4th DCA 2007); Flying

 Fish Bikes, Inc. v. Giant Bicycle, Inc., 181 F. Supp. 3d 957, 967 (M.D. Fla. 2016).

 The plaintiff need not show that the defendant’s action was the sole cause of the

 damages sought; instead, the plaintiff’s burden is to show that the defendant’s action

 was a “substantial factor” in causing the lost profits and establish the amount with

 reasonable certainty. Cedar Hills, 575 So. 2d at 678; Whitby, 951 So. 2d at 898.

        The Florida Supreme Court in W.W. Gay explained, “the ‘uncertainty which

 defeats recovery in such cases’ is the cause of the damage rather than the amount.

 ‘If from proximate estimates of witnesses a satisfactory conclusion can be reached,

 it is sufficient if there is such certainty as satisfies the mind of a prudent and impartial
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 person.’” 545 So. 2d at 1350-51 (quoting Twyman v. Roell, 166 So. 215, 218 (Fla.

 1936)). Thus, lost profit damages are recoverable if there is “some standard by

 which the amount of damages may be adequately determined.” W.W. Gay, 545 So.

 2d at 1350-51; accord Sostchin v. Doll Enters., Inc., 847 So. 2d 1123, 1128 (Fla. 3d

 DCA 2003). Florida law provides:

              Difficulty in proving damages or uncertainty as to the amount will not
              prevent recovery as long as it is clear that substantial (rather than merely
              nominal) damages were suffered as a result of the wrong, and the
              competent evidence is sufficient to satisfy the mind of a prudent, impartial
              person as to the amount.

 James Crystal Licenses, LLC v. Infinity Radio, Inc., 43 So. 3d 68, 74 (Fla. 4th DCA

 2010). In other words, so long as a plaintiff demonstrates a defendant “caused the

 damage,” lost profits are recoverable and do not need to be pleaded with absolute

 certainty. Here, Mutual is able to satisfy both.

    a. Defendant’s wrongful conduct caused Mutual’s damages.

       Before considering the amount of lost profit damages, this Court must first

 determine whether Defendant caused Mutual’s damages, which it has. In its FAC,

 Mutual asserts the following claims against Defendant: (1) Misappropriation of

 Trade Secrets under Federal and Florida law (Counts I and II); (2) Tortious

 Interference with Contract (Count III); and (3) Aiding and Abetting Breach of

 Fiduciary Duty (Count IV). See FAC. Mutual is able to prove that Defendant’s

 wrongful conduct caused Mutual’s damages for each of these claims such that


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 Mutual is entitled to its lost profits as a matter of law. 1

         There is endless evidence establishing causation, and in turn, liability in this

 case. Documentary evidence and testimony reveals that to facilitate the departure of

 both the Departed Employees and the branches they supervised, Waterstone needed

 to create a seamless transition. That is, a transition where nothing changed for the

 branches’ employees, except for the name on the door. By creating a scenario where

 the branches would transition with its pending customers, referral bases, customer

 lists, marketing materials, supervision, and entire staff, Waterstone removed any of

 the risks that might cause an employee to hesitate when switching employers.

         The departures of the Departed Employees and their branches were not a cause

 and effect; rather, they were simultaneous and interdependent. Indeed, Waterstone

 knew that the managers of Mutual Florida would not leave unless they could take

 Mutual Florida with them. Statement of Material Undisputed Facts (“SOF”) ¶¶ 10-

 16, 19, 32, 33, 48, 57.             So, even though Waterstone knew it was unlawful,

 Waterstone consciously made the decision to participate in, encourage, and facilitate

 the illegal practices for the purpose of acquiring Mutual Florida at the same time

 they hired the Departed Employees. Id. ¶¶ 11-16, 20, 22, 23, 28, 29, 38, 39, 44, 45,


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         This Court ordered that Mutual move for summary judgment on damages. Dkt. No. 94. Florida
 law is clear, however, that the determination of lost profits necessarily hinges on a plaintiff’s ability to
 prove causation. For the limited purpose of this Motion, Mutual will solely focus on the “causation”
 element for each of its claims and will not set forth a discussion of the remaining prima facie elements. To
 the extent the Court believes a discussion of the prima facie elements is necessary, Mutual respectfully
 requests that it be given an opportunity to provide supplemental briefing.
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 53-56, 61. But for that decision, neither the Departed Employees nor the branches

 would have transitioned to Waterstone. Id. ¶¶ 10-19, 31-33, 39, 48, 58.

       The e-mails show Waterstone asking for, and Mutual’s former branches

 managers sending, dozens of e-mails containing borrower information, personnel

 information, Mutual’s financial data, and other confidential information to

 Waterstone. Id. ¶¶ 21, 24, 26, 31, 34, 35, 39, 41-44, 51, 53-56. Waterstone itself

 admits that it obtained Mutual’s trade secrets, including its Encompass files, the files

 it uploaded, and other trade secret information knowing it was problematic. Id. ¶¶

 21, 24, 26-29, 53-56. And still, Waterstone used this information for its own benefit.

       Defendant went so far as to use Mutual’s own trade secrets and corporate

 opportunities as seed money, diverting dozens of loans in process to provide the

 financing to commence operations. Id. ¶¶ 21-28, 41-44, 49, 58. And, Defendant’s

 own agents confirm that such a diversion was critical to the transition of the business.

 Id. ¶ 20. Moreover, using the Manager’s access to personnel information, as well

 as the branch financial performance, Defendant was able to exactly match or better

 the compensation of the entire branch so that they could seamlessly transition all of

 their staff and business. Id. ¶¶ 34-37. Additionally, to facilitate the departure of

 employees and continued operations, Mutual’s customer information to continuing

 marketing to the same customers, using Mutual’s information. Id. ¶¶ 41, 51.

 Defendant, using Mutual’s business, its confidential information, its personnel

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 information, its marketing contacts, supervision of employees, and access to all of

 its financials and equipment, surreptitiously lifted the entirety of Mutual Florida’s

 operations in the dead of the night. Waterstone consciously concealed what was

 happening and even worked with the Departed Employees to hire a transition team

 that facilitated the theft of information, customers, and revenue from Mutual. Id. ¶¶

 19, 32, 38, 39. There is no question that Defendant’s wrongful conduct caused

 Mutual’s damages.

       Taken as a whole, this calculated scheme resulted in the lost profit damages

 sustained by Mutual in this case – namely, the destruction of Mutual Florida’s entire

 operations. See Mortgage Now, Inc. v. Stone, No. 3:09cv80/MCR/MD, 2012 WL

 4478950, at *16 (N.D. Fla. Sept. 20, 2012) (finding the “chaos” resulting from half

 a branch leaving “was caused by the disloyalty and interference” of the defendants

 and “undoubtedly resulted in damages” to plaintiff). The conduct discussed above

 cannot be separated for purposes of determining whether causation exists. Indeed,

 each of the wrongful acts contributed indivisibly to the creation of a seamless

 transition, which in totality, was Defendant’s intent. But for Defendant’s scheme –

 to essentially move Mutual Florida in whole to Waterstone – there is no record

 evidence to suggest that Mutual Florida’s operations would not have continued into

 perpetuity. This is sufficient to establish causation for each of the claims contained

 within the FAC as a matter of law.

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    b. Mutual can prove its entitlement to lost profits with reasonable certainty.

       Florida courts are clear that “once causation is proven with reasonable

 certainty, uncertainty as to the precise amount of the lost profits will not defeat

 recovery as long as there is a reasonable yardstick by which to estimate the

 damages.” Nebula Glass Intern., Inc. v. Reichold, Inc., 454 F.3d 1203, 1216-17

 (11th Cir. 2006). At that point, “absolute certainty” as to the amount of lost profits

 is not required. See id. at 1212; see also Richard A. Lord, Williston on Contracts §

 64:8; Mortgage Now, Inc., 2012 WL 4478950, at *16; Miller v. Allstate Ins. Co.,

 573 So. 2d 24, 28 n.4 (Fla. 3d DCA 1990); see also Conner v. Atlas Aircraft Corp.,

 310 So. 2d 352, 354 (Fla. 3d DCA 1975). Thus, lost profits are recoverable if there

 is “some standard by which the amount of damages may be adequately determined.”

 Nebula Glass, 454 F.3d at 1217 (citing W.W. Gay, 545 So. 2d at 1350-51).

       In support of its lost profits, Mutual relies upon its Expert Witness report of

 Candice Rosevear, where she sets forth in painstaking detail the methodology by

 which she calculates projected lost profits over a 10-year period. See Ex. FF. This

 is sufficient to demonstrate the reasonable certainty of Mutual’s lost profits.

       1. Ms. Rosevear bases her projections on two datasets that establish the
          lost profits with reasonable certainty.

       Generally, there are two methods of proving lost profits: (1) the before and

 after theory and (2) the yardstick test. See G.M. Brod & Co., Inc. v. U.S. Home

 Corp., 759 F.2d 1526, 1538-39 (11th Cir. 1985). As the Eleventh Circuit has

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 recognized, “the before and after theory is not easily adaptable to a plaintiff who is

 driven out of business before he is able to compile an earnings record sufficient to

 allow estimation of lost profits.” Id. at 1538. Therefore, the yardstick test is often

 employed, which “consists of a study of the profits of business operations that are

 closely comparable to the plaintiff’s.     Although allowances can be made for

 differences . . . the business used as a standard must be as nearly identical to the

 plaintiff’s as possible.” Id. at 1338-39. Under either test, Mutual proves its

 entitlement to lost profits.

       In her Report, Ms. Rosevear states that she assumed that “the lost profits and

 lost business associated with the closure of the Tampa and Daytona branches was a

 direct result of Defendants’ actions.” Ex. FF at ¶ 2. Ms. Rosevear projects future

 sales at the Tampa and Daytona locations assuming the branches would have

 otherwise continued operating but for Defendant’s misconduct. Id. at ¶ 12. In doing

 so, she bases her projections on (1) actual loan sales that occurred at two of Mutual’s

 peer branches, St. Louis and Maryland branches; and (2) national data from the

 Mortgage Bankers of Association, a data source also relied upon by Defendant’s

 expert witness. Id. From there, she uses a reasonable growth rate to project future

 loan sales. Id. In using those projections, she performed a valuation technique to

 estimate the present value of lost profits. Id. ¶ 13. According to Ms. Rosevear, the

 present value of lost profits is approximately $28 million over a ten-year period. Id.

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 ¶ 16.

         For purposes of this Motion, Ms. Rosevear’s report clearly demonstrates that

 she considered not only the available historical data of the Mutual Florida branches

 and those of peer branches at Mutual, but also the nationally available data, which

 Defendant’s own express witness also relies upon (see Ex. GG at 12). Both datasets

 have similar results. Ex. FF at ¶¶ 22-28. These projections – either considered alone

 or together – provide the necessary methodology, or “yardstick,” sufficient to justify

 Mutual’s entitlement to lost profits with reasonable certainty. See G.M. Brod & Co.,

 Inc., 759 F.2d at 1539 (finding it is “enough if the evidence show[s] the extent of the

 damages as a matter of just and reasonable inference, although the result be only

 appropriate” even with “indirect” proof and “estimate bases on assumptions, so long

 as the assumptions rest on adequate data”).

         2. Ms. Rosevear’s model is amenable to different time periods, which is
            a factual question for a jury.

         The lost profits at issue in this case do not arise from consideration of whether

 an individual employee would have stayed or left over a certain period of time, as

 Mutual anticipates Defendant will argue.         This case should not be viewed in

 isolation. Rather, this case should be viewed through the lens of Waterstone’s

 collective action in stealing and utilizing Mutual Florida’s operations to its demise.

         That said, there is an open question as to the time period for which Mutual

 should be entitled to lost profits.       In her Report, Ms. Rosevear provides a
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 methodology and is clear that notwithstanding her approximated lost profits, her

 model is flexible to other damages timeframes and allows for the calculation of

 damages through any year up to 2031. Id. ¶ 32 n.35. In fact, Ms. Rosevear provided

 these different figures in response to Waterstone’s recent interrogatory requests

 related to different time periods. See Ex. HH, MOM-015944. Thus, it cannot be

 argued that Ms. Rosevear has not provided a methodology for the factfinder to

 calculate the appropriate damages to be awarded in this case.

       At worst, the time period may be limited to twelve months because Mutual’s

 Employment Agreements include a twelve-month non-solicitation period during

 which the Departed Employees would not have otherwise been able to solicit the

 Mutual Florida branch employees—an argument that Defendant itself has raised

 throughout this case. See Dkt. No. 72. Yet, based on Ms. Rosevear’s opinion, a jury

 could expand that liability to multiple years, predicated on the testimony and facts

 adduced at trial.

       At best, there is no record evidence that Defendant can point to that suggests

 Mutual Florida’s operations would have ceased any time in the near future but for

 Waterstone’s wrongdoing.        Indeed, Mutual’s acquisition of Keller Williams

 certainly suggests that Mutual would have been able to retain the branch by virtue

 of the fact that it would have been able to pair it with a real estate company to partner

 and refer loans. It was Waterstone’s partnership in stealing Mutual Florida that led

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 to the Departed Employees’ resignation. Without that, they would have likely

 remained given that the Departed Employees’ branches provided significant portions

 of their income. SOF ¶ 10. Further, the average duration that a branch remains at

 Mutual is approximately 51 months, which provides another plausible basis for a

 jury’s consideration. Ex. A, Carroll Aff. ¶ 16. And approximately 80% of the

 branches that have started with Mutual have remained with Mutual, to date. Id.

 While the question of the appropriate time frame to determine lost profits is a

 question best suited for the fact finder, 2 there can be no question that Mutual has

 experienced lost profits as a result of Defendant’s wrongful actions. Whether a

 factfinder determines that the appropriate time frame to one year (at a minimum),

 five years, ten years, or otherwise, does not affect that Mutual is entitled as a matter

 of law to lost profits.

                                              CONCLUSION

         Plaintiff, Mutual of Omaha Mortgage, Inc., requests that this Court enter

 summary judgment against Defendant, Waterstone Mortgage Corporation for

 Mutual’s damages, and requests such further relief as the Court deems necessary.


 2
           Generally, the question of whether lost profits are reasonably certain is a question of fact to be
 determined by the finder of fact. Katz Deli of Aventura, Inc. v. Waterways Plaza, LLC, 183 So. 3d 374,
 382-83 (Fla. 3d DCA 2013) (citing State Rd. Dept. v. Tampa Bay Theatres, Inc., 208 So. 2d 485, 486-87
 (Fla. 2d DCA 1968)); IBP, Inc. v. Hady Enters., Inc., 267 F. Supp. 2d 1148, 1168-69 (N.D. Fla. 2002)
 (noting the role of the factfinder in determining lost profits); Collins & Aikman Floor Coverings, Inc. v.
 Interface, Inc., No. 4:05-CV-0133-HLM, 2009 WL 10669578, at *4 (N.D. Ga. Jan. 8, 2009) (finding that
 so long as a party can provide a viable legal theory for recovering lost profits, it is “ultimately up to the jury
 . . . to weigh the credibility of the parties opposing theories and evidence”).

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  Dated:   Washington, D.C.
           October 20, 2023


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